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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                _______________________

JERMAINE HARDY #267170,

               Plaintiff,                                 HON. GORDON J. QUIST
v.
                                                          Case No. 1:16-CV-1130
ERNEST CHRISTIAN GAUDERER,
MICHELLE M. BRATEL, and
HEATHER L. WOODIN,

            Defendants.
______________________________/

JERMAINE HARDY #267170,

               Plaintiff,                                 HON. GORDON J. QUIST
v.
                                                          Case No. 2:17-CV-80
D. BESTEMEN, et al.,

            Defendants.
______________________________/

                                   ORDER OF DISMISSAL
                                          and
                                  WAIVER OF COURT FEES

       The parties having settled the disputes between them, and the Court having agreed, in the

interest of judicial economy, to waive certain fees,

       IT IS HEREBY ORDERED as follows:

       The Court hereby waives court fees owed by Plaintiff, Jermaine Hardy, in the following

amounts:

               •       Case No. 1:16cv1130                $210.28
               •       Case No. 2:17cv80 (closed)         $301.21

       The Defendants, Michelle Bratel and Heather Woodin, hereby agree to pay the Plaintiff,

Jermaine Hardy, $1,000 within thirty (30) days of this Order. The $1,000 will be deposited in

Hardy’s prison account.
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       The Complaint against Defendants Gauderer, Bratel, and Woodin, Case No. 1:16cv1130, is

hereby dismissed with prejudice.

       The Plaintiff releases Defendants Gauderer, Bratel, and Woodin from all claims set forth in

Case No. 1:16cv1130, and any other claim he has or might have had against all or either of them as

of October 23, 2018.

       Mr. Hardy may move to set aside this Order and Waiver within thirty-five (35) days of its

entry if Defendants fail to make the payment of $1,000.



Dated: October 23, 2018                                   /s/ Gordon J. Quist
                                                         GORDON J. QUIST
                                                    UNITED STATES DISTRICT JUDGE




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